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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS THOMAS G. BRUTON

UNITED STATES OF AMERICA) ——sONo. WUDCE BUCKLO

)

) MAGISTRATE JUDOE FY

V. ) Violations: Title 18, United States ENTES

) Code, Section 1348 and Title 26,

) United States Code, Section 7206(1)
ROBERT GORODETSKY )

COUNT ONE

The UNITED STATES ATTORNEY charges:

1. Beginning in or around February 2014, and continuing through in or
around April 2018, in the Northern District of Illinois, and elsewhere,

ROBERT GORODETSKY,
defendant herein, knowingly devised, intended to devise, and participated in a
scheme to defraud and to obtain money and property from Individual A by means of
materially false and fraudulent pretenses, representations, and promises, and by the
concealment of material facts, which scheme is further described below.

2. It was part of the scheme that defendant GORODETSKY fraudulently
obtained more than $9.6 million from Individual A through materially false
statements about, among other things, the intended use of the money invested, the
actual returns on the money Individual A invested with GORODETSKY, and

Individual A’s account balance.
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. 3. It was further part of the scheme that defendant GORODETSKY falsely
represented that he would pool Individual A’s investment with substantial funds
GORDODETSKY claimed to own, that the pooled funds would be used to make
investments in the stock market and to place wagers on specific sporting events, and
that they would share the profits and losses on a pro-rata basis.

4. It was further part of the scheme that between approximately February
and June 2014, defendant GORODETSKY fraudulently obtained approximately
$953,000 from Individual A for the purported purpose of investing Individual A’s
funds in the stock market, and converted approximately $737,388 for his own
personal use. | |

5. It was further part of the scheme that in approximately July 2014,
defendant GORODETSKY falsely represented to Individual A that his stock trading
investment of $953,000 had increased to approximately $2 million based on
GORDETSKY’s favorable trading activity.

6. It was further part of the scheme that in approximately July 2014,
defendant GORODETSKY falsely told Individual A that greater returns could be had
in sports wagering and that he would use Individual A’s existing investment,
purportedly worth $2 million, to begin making sports wagers.

7. It was further part of the scheme that between approximately July 2014
and November 2017, defendant GORODETSKY falsely represented to Individual A
that his investment was growing, and that more funds were needed to increase

Individual A’s investment. GORODETSKY’s false representations included false
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statements regarding the balance in Individual A’s account, the amount and kind of
wagers made by GORODETSKY, the amount of profits and losses related to specific
wagers, and use of the proceeds.

8. It was further part of the scheme that between approximately Vuly 2014
and November 2017, defendant GORODETSKY fraudulently obtained approximately
$8,740,000 in additional investment funds from Individual A for the purported
purpose of wagering on specific sporting events.

9. It was further part of the scheme that between approximately July 2014 |
and November 2017, defendant GORODETSKY used the bulk of Individual A’s
$8,740,000 investment for purposes unrelated to wagering on specific sporting events,
including his conversion of more than $2.2 million of Individual A’s funds to pay
living, travel, and entertainment expenses as well as to acquire assets including
luxury automobiles and jewelry.

10. It was further part of the scheme that between approximately July 2014
and November 2017, defendant GORODETSKY regularly sent false account
statements and balances to Individual A for the purpose of maintaining and
increasing the amount of funds fraudulently obtained from Individual A.

11. It was further part of the scheme that between approximately July 2014
and November 2017, defendant GORODETSKY opened and caused to be opened

multiple bank accounts for the purpose of receiving funds from Individual A.
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: 12. It was further part of the scheme that defendant GORODETSKY
concealed, misrepresented and hid, and caused to be concealed, misrepresented and
hidden, the existence, purposes, and acts done in furtherance of the scheme.

13. Onor about April 17, 2017, in the Northern District of Illinois, Eastern
Division, and elsewhere,

ROBERT GORODETSKY,

defendant herein, for the purpose of executing the aforesaid scheme, knowingly
caused to be transmitted by means of wire communications in interstate commerce
certain writings, signs, and signals, namely, a wire transfer of $200,000 from
Individual A’s Citibank account in New York to GORODETSKY’s account xxxx7568
at US. Bank in Illinois; |

In violation of Title 18, United States Code, Section 1343.
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COUNT TWO

The UNITED STATES ATTORNEY further charges:

On or about October 4, 2017, in the Northern District of Illinois, Eastern
Division,

ROBERT GORODETSKY,

defendant herein, willfully made and subscribed, and caused to be made and
subscribed, a U.S. Individual Income Tax Return (Form 1040 with schedules and
attachments), for the calendar year 2016, which return was verified by written
declaration that it was made under the penalties of perjury and was filed with the
Internal Revenue Service, which return he did not believe to be true and correct as to
every material matter, in that said return reported on Line 22 that his total income
was $10,520, when defendant knew that his total income substantially exceeded that

amount;

In violation of Title 26, United States Code, Section 7206(1).

 

UNITED STATES ATTORNEY
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x COUNT TWO

The UNITED STATES ATTORNEY further charges:

On or about October 4, 2017, in the Northern District of Illinois, Eastern
Division,

ROBERT GORODETSKY,

defendant herein, willfully made and subscribed, and caused to be made and
subscribed, a U.S. Individual Income Tax Return (Form 1040 with schedules and
attachments), for the calendar year 2016, which return was verified by written
declaration that it was made under the penalties of perjury and was filed with the
Internal Revenue Service, which return he did not believe to be true and correct as to
every material matter, in that said return reported on Line 22 that his total income
was $10,520, when defendant knew that his total income substantially exceeded that

amount;

In violation of Title 26, United States Code, Section 7206(1).

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